      Case 6:20-cv-00036-RSB-BKE Document 53 Filed 10/20/20 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                               STATESBORO DIVISION

WILLIAM NAVARRO CASTILLO,            )
                                     )
           Plaintiff,                )
                                     )
      v.                             )        CV 620-036
                                     )
SGT. JOHNSON; OFFICER JACKSON;       )
UNIT MANAGER HUTCHENSON;             )
UNIT MANAGER SHARPE; WARDEN          )
JAMES DEAL; DEPUTY WARDEN            )
ADAMS; MS. SPELLS; UNIT MANAGER )
BOBBIT; OFFICER MS. LANE; OFFICER )
FNU McGLOHONE; MS. CHESTER; and )
UNIT MANAGER JOHNSON,                )
                                     )
           Defendants.               )
         ________________________________________________________

          MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
          ________________________________________________________

      Before the Court is Plaintiff’s motion for a preliminary injunction and temporary

restraining order. (Doc. no. 52.) On September 22, 2020, the Court dismissed Plaintiff’s

second amended complaint for failure to state a claim, denied Plaintiff’s motion for a

temporary restraining order, and closed this civil action.   (Doc. no. 50.)   Because the

complaint failed to state a claim and this civil action is closed, the Court REPORTS and

RECOMMENDS Plaintiff’s motion for a preliminary injunction and temporary restraining

order be DENIED. (Doc. no. 52). The motion also fails on the merits because it merely
      Case 6:20-cv-00036-RSB-BKE Document 53 Filed 10/20/20 Page 2 of 2



repeats arguments the Court rejected in its prior rulings.

       SO REPORTED and RECOMMENDED this 20th day of October, 2020, at Augusta,

Georgia.




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